                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                    AT KNOXVILLE


UNITED STATES OF AMERICA,                   )
                                            )
                     Plaintiff,             )
                                            )
v.                                          )        No. 3:05-CR-96
                                            )        (JORDAN/GUYTON)
RANDY L. HOLSTEIN,                          )
                                            )
                     Defendant              )



                    ORDER OF DETENTION PENDING TRIAL


               The above-named defendant appeared in custody before the

undersigned on September 1, 2005, for an arraignment and detention hearing.

United States Attorney David C. Jennings was present for the government and

Robert Kurtz was present as CJA Counsel for the defendant. The government

moved for detention pursuant to 18 U.S.C. § 3142(e) at the defendant’s initial

appearance, held on August 30, 3005.

                Counsel for the defendant announced that the defendant would

waive the detention hearing, while reserving the right to move for a detention

hearing at a later date. Defendant and defendant’s counsel executed the

appropriate Waiver of Detention Hearing.

               Accordingly, the defendant is committed to the custody of the



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Attorney General or his/her designated representative for confinement in a

corrections facility separate, to the extent practicable, from persons awaiting or

serving sentences or being held in custody pending appeal. The defendant shall be

afforded a reasonable opportunity for private consultation with defense counsel.

On order of a court of the United States or on request of an attorney for the

government, the person in charge of the corrections facility shall deliver the

defendant to the United States Marshal for the purpose of an appearance in

connection with a court proceeding.



             IT IS SO ORDERED.



                                       s/ H. Bruce Guyton
                                       United States Magistrate Judge




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